 Case: 1:16-cv-08637 Document #: 5136 Filed: 10/22/21 Page 1 of 3 PageID #:309111




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


                                                     Master Case No: 1:16-cv-08637
IN RE BROILER CHICKEN ANTITRUST
                                Judge Thomas Durkin
LITIGATION
                                                     Magistrate Judge Jeffrey T. Gilbert


          MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD

       Evan P. Boyle respectfully requests leave to withdraw as counsel for Direct Action

Plaintiffs Alex Lee, Inc., Big Y Foods, Inc., Woodman’s Food Market, Inc., Basha’s Inc., Certco,

Inc., Troyer Foods, Inc., Weinstein Wholesale Meats, Inc., and Schnuck Markets, Inc.

(“Plaintiffs”). In support thereof, Mr. Boyle represents to the Court the following:

       1. On May 21, 2019, as an associate of Williams Montgomery & John Ltd., Mr. Boyle

appeared as counsel for Plaintiffs.

       2. Mr. Boyle is leaving the firm of Williams Montgomery & John Ltd. and will no longer

be an employee of the firm effective October 22, 2021.

       3. Plaintiffs will remain represented by other counsel of record, and no party will be

prejudiced by Mr. Boyle’s withdrawal as counsel.

       WHEREFORE, Evan P. Boyle respectfully requests that this Court grant his leave to

withdraw as counsel for Plaintiffs in the above-captioned matter.



                                                       Respectfully submitted,


                                                       /s/ Evan P. Boyle
                                                       Evan P. Boyle




                                                 1
Case: 1:16-cv-08637 Document #: 5136 Filed: 10/22/21 Page 2 of 3 PageID #:309112




                                           WILLIAMS MONTGOMERY & JOHN
                                           LTD.
                                           233 S. Wacker Drive, Suite 6800
                                           Chicago, IL 60606
                                           Tel.: (312) 443-3200
                                           Fax: (312) 630-8500
                                           Email: epb@willmont.com




                                       2
 Case: 1:16-cv-08637 Document #: 5136 Filed: 10/22/21 Page 3 of 3 PageID #:309113




                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2021, a true and correct copy of the foregoing document

was electronically filed with the Clerk of the Court using CM/ECF system, which will send

notification of such filing to all counsel of record.

                                                        /s/ Evan P. Boyle
                                                        Evan P. Boyle




                                                   3
